               Case 2:09-cr-00487-JAM Document 77 Filed 11/01/10 Page 1 of 3


 1   JAN DAVID KAROWSKY
     Attorney at Law
 2   A Professional Corporation
     California State Bar Number 53854
 3   716 19th Street, Suite 100
     Sacramento, CA 95811-1767
 4   (916) 447-1134
     (916) 448-0265 (Fax)
 5
     Attorney for Defendant
 6   Mark Cosme
 7                                UNITED STATES DISTRICT COURT
 8                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   United States of America,                        )   Case No.: CR. S-09-0487-FCD
                                                      )
11                   Plaintiff,                       )   STIPULATION AND ORDER
                                                      )   REGARDING ADVISEMENT AND
12           vs.                                      )   WAIVER OF APPEAL RIGHTS
                                                      )
13   Jorge Pena, et. al.,                             )
                                                      )   DATE: November 1, 2010
14                   Defendants                       )
                                                          TIME: 10:00 a.m.
                                                      )
15                                                    )   JUDGE: Hon. Frank C. Damrell, Jr.
                                                      )
16                                                    )
17

18                                        FACTUAL SUMMARY
19           On November 1, 2010, Defendant, Mark Cosme, regularly appeared for Judgment and
20   Sentencing in the above-captioned action. He was sentenced by The Honorable Frank C.
21   Damrell, Jr. pursuant to the “Advisory Guideline Presentence Investigation Report, dated
22   October 12, 2010.
23           Apparently, the “Appeal Rights Advisement” was not stated to the defendant on the
24   record. Upon the request of the Court and with the advice and consent of all parties including
25   the defendant himself, all parties agree to the following stipulation.




                                                      -1-
                Case 2:09-cr-00487-JAM Document 77 Filed 11/01/10 Page 2 of 3


 1

 2                                             STIPULATION
 3            Plaintiff, United States, through AUSA Carolyn Delaney and counsel for defendant Mark
 4   Cosme, Jan David Karowsky, Esq., hereby stipulate and agree that the defendant has signed the
 5   plea agreement in this case wherein he knowingly, intelligently, voluntarily, and after the
 6   specific advice of his counsel, Jan Karowsky, waived his appeal rights in this matter. Further, it
 7   is stipulated and agreed that the defendant has been specifically advised by counsel that he has
 8   the right to appeal; that if he desired to appeal, he is required to file his Notice of Appeal in
 9   writing with the Court within fourteen days of the date he was sentenced, November 1, 2010;
10   that if he could not afford an attorney for his appeal, the Court would appoint an attorney for
11   him; and that if he could not afford the cost of an appeal he could proceed without payment of
12   costs.
13   IT IS SO STIPULATED.
14   DATED:          November 1, 2010                        BENJAMIN B. WAGNER
                                                             United States Attorney
15
                                                             By /s/ Carolyn Delaney
16

17
                                                             Carolyn Delaney
                                                             Assistant U.S. Attorney
18                                                           by Jan Karowsky
                                                             With Ms. Delaney’s permission
19

20   DATED:          November 1, 2010                        JAN DAVID KAROWSKY
                                                             Attorney at Law
21                                                           A Professional Corporation
                                                             By /s/ Jan Karowsky
22
                                                             JAN DAVID KAROWSKY
23
                                                             Attorney for Defendant
24                                                           Mark Cosme

25




                                                       -2-
               Case 2:09-cr-00487-JAM Document 77 Filed 11/01/10 Page 3 of 3


 1                                                ORDER
 2          IT IS SO ORDERED.          Good Cause Appearing, it is ordered that the record shall
 3
     reflect by the instant Order that the defendant has been specifically advised by his attorney, Jan
 4
     David Karowsky, that the defendant has the right to appeal; that if he desired to appeal, he is
 5
     required to file his Notice of Appeal in writing with the Court within fourteen days of the date he
 6
     was sentenced, November 1, 2010; that if he could not afford an attorney for his appeal, the
 7
     Court would appoint an attorney for him; and that if he could not afford the cost of an appeal he
 8
     could proceed without payment of costs.
 9

10

11   Dated: November 1, 2010
                                                _______________________________________
                                                FRANK C. DAMRELL, JR.
12                                              UNITED STATES DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25




                                                     -3-
